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             EXHIBIT B
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                     In re Pork Antitrust Litigation (Direct Purchaser Action), Case No. 0:18-cv-01776-JRT-HB
                                                    Assignment Report- Smithfield

Assigment   Exclusion
       ID     Number Assignee                                            Assignor Name
                                                                         MPFS Liquidating Trust, acting by and through Advisory Trust
       1         8-1 Amory Investments LLC                               Group, LLC
                                                                         Maines Paper & Food Service, Inc. ("MPFS") (dba MainSource;
                                                                         dba MainSource Food & Party Warehouse; dba Produce Express;
      1-1        8-2 Amory Investments LLC                               dba Maines Food & Party Warehouse)
      1-2        8-3 Amory Investments LLC                               Maines Funding Corporation ("MFC")

      1-3        8-4 Amory Investments LLC                               Maines Paper & Food Service - Chicago, Inc. ("MPFS-Chicago")
      1-4        8-5 Amory Investments LLC                               Maines Paper & Food Service - Dallas, Inc. ("MPFS-Dallas")
                                                                         Maines Paper & Food Service - Great Lakes, Inc. ("MPFS-Great
      1-5        8-6 Amory Investments LLC                               Lakes")
      1-6        8-7 Amory Investments LLC                               Maines Paper & Food Service - Maryland, Inc. ("MPFS-MD")
                                                                         Maines Paper & Food Service -Mid-Atlantic, Inc. ("MPFS-Mid-
      1-7        8-8 Amory Investments LLC                               Atlantic")

      1-8        8-9 Amory Investments LLC                               Maines Paper & Food Service - New England, Inc. ("MPFS-NE")
      1-9       8-10 Amory Investments LLC                               Maines Paper & Food Service - NY Metro, Inc. ("MPFS-NY")
     1-10       8-11 Amory Investments LLC                               Maines Paper & Food Service - Ohio Inc. ("MPFS-OH")
     1-11       8-12 Amory Investments LLC                               Maines Paper & Food Service -Tennessee, Inc. ("MPFS-TN")
                                                                         Maines Paper & Food Service -Worcester, Inc. ("MPFS-
     1-12       8-13 Amory Investments LLC                               Worcester")
     1-13       8-14 Amory Investments LLC                               Warehouse & Logistics, Inc. ("W&L")
        2       16-4 Aramark Food and Support Services Group, Inc.       Sysco Corporation
      2-1       16-5 Aramark Food and Support Services Group, Inc.       Single Source, Inc.
        3      17-35 Quality Supply Chain Co-op, Inc.                    The SYGMA Network, Inc.
      3-1      17-36 Quality Supply Chain Co-op, Inc.                    The Sysco Corporation
      3-2      17-37 Quality Supply Chain Co-op, Inc.                    Performance Food Group*
                                                                         Kenneth O. Lester Company, Inc. d/b/a PFG Customized
      3-3      17-38 Quality Supply Chain Co-op, Inc.                    Distribution
      3-4      17-39 Quality Supply Chain Co-op, Inc.                    Quality Custom Distribution Services, Inc.
      3-5      17-40 Quality Supply Chain Co-op, Inc.                    Shamrock Foods Company
      3-6      17-41 Quality Supply Chain Co-op, Inc.                    Upper Lake Foods, Inc.
      3-7      17-42 Quality Supply Chain Co-op, Inc.                    ULF Janesville, LLC
      3-8      17-43 Quality Supply Chain Co-op, Inc.                    Willow Run Foods, Inc.
      3-9      17-44 Quality Supply Chain Co-op, Inc.                    Fresh Mark, Inc.
     3-10      17-45 Quality Supply Chain Co-op, Inc.                    Harvest Distribution, Inc.
     3-11      17-46 Quality Supply Chain Co-op, Inc.                    Southeastern Food Merchandisers, LP
        4       27-1 BJ's Wholesale Club, Inc.                           Burris Logistics
        5       29-1 Buffalo Wild Wings, Inc.                            McLane Foodservice, Inc. and its affiliates
        6       30-1 CKE Restaurants Holdings, Inc.                      McLane Company, Inc.
      6-1       30-2 CKE Restaurants Holdings, Inc.                      McLane Foodservice, Inc.
      6-2       30-3 CKE Restaurants Holdings, Inc.                      McLane Foodservice Distribution, Inc.
      6-3       30-4 CKE Restaurants Holdings, Inc.                      Meadowbrook Meat Company, Inc.
        7       31-1 The Fresh Market, Inc.                              Burris Logistics
        8       33-1 Jimmy John’s Buying Group SPV, LLC                  Sysco Corporation
        9       36-1 The Cheesecake Factory Incorporated                 Halperns’ Steak and Seafood Company, LLC
      9-1       36-2 The Cheesecake Factory Incorporated                 Nealy Foods
       10      38-70 Target Corporation                                  C&S Wholesale Grocers, Inc.
       11       39-2 Southeastern Grocers LLC                            C&S Wholesale Grocers, Inc.
     11-1       39-4 Winn-Dixie Stores, Inc.                             C&S Wholesale Grocers, Inc.
     11-2      39-12 Bi-Lo Holding LLC                                   C&S Wholesale Grocers, Inc.
     11-3      39-14 Bi-Lo LLC                                           C&S Wholesale Grocers, Inc.
     11-4      39-19 Bi-Lo, LLC                                          C&S Wholesale Grocers, Inc.
                                                                         The HAVI Group LP, HAVI Global Solutions LLC and their
      12        40-1 McDonald's Corporation                              affiliates
                                                                         Lopez Foods, Inc., Dorada Poultry LLC, DeOro Foods LLC and
     12-1       40-2 McDonald's Corporation                              their affiliates
     12-2       40-3 McDonald's Corporation                              OSI Group, LLC and its affiliates
     12-3       40-4 McDonald's Corporation                              Armada Supply Chain Solutions, LLC and its affiliates
     12-4       40-5 McDonald's Corporation                              ATEC Systems, Ltd. and its affiliates
     12-5       40-6 McDonald's Corporation                              IBD Foods, Inc. and its affiliates
     12-6       40-7 McDonald's Corporation                              The Martin-Brower Company, L.L.C. and its affiliates
       13       41-1 Checkers Drive-In Restaurants, Inc.                 I-Supply Company
     13-1       41-2 Checkers Drive-In Restaurants, Inc.                 Upper Lakes Foods, Inc.
     13-2       41-3 Checkers Drive-In Restaurants, Inc.                 DiCarlo Foods
     13-3       41-4 Checkers Drive-In Restaurants, Inc.                 Customized Distribution, LLC
     13-4       41-5 Checkers Drive-In Restaurants, Inc.                 Pocono Produce Co., Inc. d/b/a Pocono ProFoods
       14       42-1 Sonic Industries Services Inc.                      McLane Foodservice, Inc.
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                           In re Pork Antitrust Litigation (Direct Purchaser Action), Case No. 0:18-cv-01776-JRT-HB
                                                          Assignment Report- Smithfield

 Assigment     Exclusion
         ID      Number Assignee                                                    Assignor Name
       14-1         42-2 Sonic Industries Services Inc.                             Performance Food Group, Inc.*
       14-2         42-3 Sonic Industries Services Inc.                             Nicholas and Company
       14-3         42-4 Sonic Industries Services Inc.                             Merchants Foodservice
       14-4         42-5 Sonic Industries Services Inc.                             Shamrock Foods Company
       14-5         42-6 Sonic Industries Services Inc.                             Gordon Food Service, Inc.
         15         43-1 Restaurant Services, Inc.                                  McLane Company, Inc. and affiliates
       15-1         43-2 Restaurant Services, Inc.                                  Meadowbrook Meat Company, Inc.
       15-2         43-3 Restaurant Services, Inc.                                  Nicholas and Company
       15-3         43-4 Restaurant Services, Inc.                                  Performance Food Group, Inc.*
       15-4         43-5 Restaurant Services, Inc.                                  Reinhart Foodservice, LLC and affiliates
       15-5         43-6 Restaurant Services, Inc.                                  Lineage Foodservice Solutions, LLC and affiliates
       15-6         43-7 Restaurant Services, Inc.                                  Shamrock Foods Company
       15-7         43-8 Restaurant Services, Inc.                                  Maines Paper and Food Service, Inc. and affiliates
       15-8         43-9 Restaurant Services, Inc.                                  Sysco Corporation
       15-9        43-10 Restaurant Services, Inc.                                  SYGMA Network, Inc.
         16         44-1 Subway Protein Litigation Corp.                            Independent Purchasing Cooperative, Inc.
       16-1         44-2 Subway Protein Litigation Corp.                            Cash-Wa Distributing
       16-2         44-3 Subway Protein Litigation Corp.                            Gordon Food Service, Inc.
       16-3         44-4 Subway Protein Litigation Corp.                            Lineage Logistics
       16-4         44-5 Subway Protein Litigation Corp.                            Nicholas & Company
       16-5         44-6 Subway Protein Litigation Corp.                            Performance Food Group, Inc.*
       16-6         44-7 Subway Protein Litigation Corp.                            Saladino's Inc.
       16-7         44-8 Subway Protein Litigation Corp.                            Shamrock Foods Company
       16-8         44-9 Subway Protein Litigation Corp.                            Labatt Food Service LLC
       16-9        44-10 Subway Protein Litigation Corp.                            Ed Miniat LLC
      16-10        44-11 Subway Protein Litigation Corp.                            West Liberty Foods, LLC
         17         45-1 Golden Corral Corporation                                  McLane Foodservice, Inc.
                         Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
          18        46-1 And Fire Grill                                             McLane Foodservice, Inc.
                         Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
        18-1        46-2 And Fire Grill                                             Performance Food Group, Inc.*
                         Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
        18-2        46-3 And Fire Grill                                             Reinhart Foodservice, LLC
          19        48-1 Cracker Barrel Old Country Store, Inc.                     Performance Food Group, Inc.*
        19-1        48-2 Cracker Barrel Old Country Store, Inc.                     Reinhart Foodservice, LLC
          20        49-1 Boston Market Corporation                                  McLane Foodservice, Inc.
          21        50-2 Bojangles Restaurants and Bojangles Opco LLC               McLane Foodservice, Inc.
          22        52-1 Services Group of America, Inc.                            Food Services of America, Inc.
        22-1        52-2 Services Group of America, Inc.                            Systems Services of America, Inc.
        22-2        52-3 Services Group of America, Inc.                            Ameristar Meats, Inc.
          23        74-2 Dollar General Corporation                                 Nash-Finch Company
        23-1        74-3 Dollar General Corporation                                 Super Food Services, Inc.
        23-2        74-4 Dollar General Corporation                                 MDV SpartanNash LLC
          24        91-3 Hy-Vee                                                     Topco Associates LLC or Topco Associates, Inc.
          25        93-3 US Foods, Inc.                                             Food Services, of America, Inc.,
        25-1        93-4 US Foods, Inc.                                             System Services of America, Inc.,
        25-2        93-5 US Foods, Inc.                                             Ameristar Meats, Inc.,
        25-3        93-6 US Foods, Inc.                                             Amerifresh, Inc.
        25-4        93-7 US Foods, Inc.                                             GAMPAC Express, Inc.

*Neither Performance Food Group, Inc. nor any of its subsidiaries (together, “PFG”) have requested exclusion from the Settlement Class and,
therefore, PFG, to the extent of its eligible purchases that have not been assigned, (a) is a member of the Settlement Class, and (b) such
membership of is not affected by any exclusion request submitted by any other entity, including, but not limited to, any entity to which PFG assigned
any of its eligible purchases.
